USDC IN/ND case 2:15-cr-00072-PPS-APR            document 1273    filed 01/10/18    page 1 of 2


                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

  UNITED STATES OF AMERICA,                  )
                                             )
                          Plaintiff,         )
                                             )
         v.                                  )     Cause No. 2:15CR72-PPS
                                             )
  JEREMIAH SHANE FARMER,                     )
                                             )
                          Defendant.         )

                                       OPINION AND ORDER

         Before the Court is Jeremiah Farmer’s Motion Respectfuly Files Notice of Appea

  on Denied Motions. [DE 1270.] Farmer indicates that he is filing a notice of appeal of

  certain motions that were decided by the Magistrate Judge relating to discovery issues,

  his medical treatment, and the government’s request to file a document under seal.

  However, it is not clear to me whether Farmer is seeking appellate review of these orders

  by the Court of Appeals for the Seventh Circuit, or whether he is seeking my review of

  the Magistrate Judge’s decisions in this matter, which he is able to do under Federal Rule

  of Criminal Procedure 59. Therefore, clarification by Farmer is necessary to determine

  what relief he seeks.

         In his response to this order, Farmer should indicate whether he is requesting

  that the District Judge review the orders entered by the Magistrate Judge, or whether he

  intends to file an appeal to the Court of Appeals for the Seventh Circuit. If Farmer is

  requesting that the District Judge review the orders of the Magistrate Judge, he should
USDC IN/ND case 2:15-cr-00072-PPS-APR           document 1273     filed 01/10/18   page 2 of 2


  clearly indicate which orders of the Magistrate Judge he is challenging and the basis for

  modifying or setting aside those orders.

         ACCORDINGLY:

         Defendant Jeremiah Shane Farmer is DIRECTED to file a response to this order,

  indicating whether he seeks the District Judge’s review of the Magistrate Judge’s

  decision, or whether he intends to file an appeal to the Court of Appeals for the Seventh

  Circuit, no later than 30 days from the date of this order.

         SO ORDERED.

         ENTERED: January 10, 2018

                                                   /s/ Philip P. Simon
                                                   PHILIP P. SIMON, JUDGE
                                                   UNITED STATES DISTRICT COURT




                                               2
